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                                     CONFIDENTIAL
                       SETTLEMENT AGREEMENT AND GENERAL RELEASE


            This Confidential Settlement Agreement and General Release ("AGREEMENT")
     is entered into by and between JULIENNE FONTES ("FONTES") and KABIRHU
     ASSOCIATES, LLC, d/b/a GOLDEN GLADES NURSING AND REHABILITATION
     CENTER; ADIRHU ASSOCIATES, LLC; SHELDON NEIDIGH; NORMAN GINSPARG;
     and PHILIP ESFORMES ("DEFENDANTS") (collectively "Parties"). The individual
     executing this Agreement on behalf of Defendants Adirhu Associates, LLC and Kabirhu
     Associates, LLC has all requisite capacity, power and authority to execute and bind
     Defendants Adirhu Associates, LLC and Kabirhu Associates, LLC to this Agreement,
     and to perform all obligations hereunder.

                                              RECITALS

             This AGREEMENT is made with reference to the following facts:

              A.      WHEREAS, FONTES filed a lawsuit against DEFENDANTS that is
                      currently pending with the United States District Court for the Southern
                      District of Florida and that is designated as Julienne Fontes v. Kabirhu
                      Associates, LLC d/b/a Golden Glades Nursing and Rehabilitation Center,
                      Adirhu Associates, LLC, Sheldon Neidich, Norman Ginsparg, and Philip
                      Esformes, Case No. 1:15-cv-23811-MGC (the "Lawsuit");

              B.      WHEREAS, DEFENDANTS deny the validity of FONTES's claims and
                      denies that they are subject to any liability; and

              C.      WHEREAS, all wages          concededly due to     FONTES      have been
                      unconditionally paid; and

              D.      WHEREAS, all Parties wish to settle their differences without resort to
                      further litigation; and

              E.      WHEREAS, DEFENDANTS are willing to provide FONTES with certain
                      considerations described below, which they are not ordinarily required to,
                      provided FONTES releases DEFENDANTS from any claims FONTES has
                      made or might make arising out of her employment with DEFENDANTS
                      and agrees to comply with the other promises and conditions set forth in
                      this AGREEMENT.

            NOW THEREFORE, in consideration of the mutual covenants and promises
     contained herein, and other good and valuable consideration, the receipt and sufficiency
     of which are hereby acknowledged by the Parties, the Parties agree to be legally bound
     by the following terms and conditions, which constitute full settlement of any and all
     disputes between them:




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              1.      Recitals:    The Parties acknowledge that the "WHEREAS" clauses
                      preceding paragraph 1 are true and correct, and are incorporated herein
                      as material parts to this AGREEMENT.

              2.      Definitions: Throughout this AGREEMENT, the term "DEFENDANTS"
                      shall include the following:

                      (A)      KABIRHU ASSOCIATES, LLC, as well as any subsidiary, parent
                               company, affiliated entity, related entity, operating entity, franchise,
                               or division of Kabirhu Associates, LLC;

                       (B)     Any officer, director, trustee, agent, employee, or insurer of an
                               entity encompassed by subparagraph (A);

                       (C)     ADIRHU ASSOCIATES, LLC, as well as any subsidiary, parent
                               company, affiliated entity, related entity, operating entity, franchise,
                               or division of Adirhu Associates, LLC;

                       (D)     Any officer, director, trustee, agent, employee, or insurer of an
                               entity encompassed by subparagraph (C);

                       (E)      NORMAN GINSPARG, as well as any of his heirs, executors,
                                administrators, and assigns;

                       (F)      SHELDON NEIDIGH, as well as any of his heirs, executors,
                                administrators, and assigns; and

                       (G)      PHILIP ESFORMES, as well as any of his heirs, executors,
                                administrators, and assigns.

              3.       Settlement Sum: As consideration for signing this AGREEMENT and
                       compliance with the promises made herein, DEFENDANTS agree to pay
                       to FONTES Seven Thousand Five Hundred and No/100 Dollars ($7,500),
                       less lawful deductions. Defendants will mail or deliver the settlement
                       proceeds to Anthony M. Georges-Pierre, Remer & Georges-Pierre, PLLC,
                       Courthouse Tower, 44 West Flagler Street, Suite 2200, Miami, Florida
                       33130. The settlement amountsshall be allocated as follows:

                                (A)   A total of Three Thousand and No/100 Dollars ($3,000), less
                                lawful deductions, shall be made payable as wage-based
                                compensatory damages to FONTES, for which a W-2 shall be
                                issued;

                                (B)   A total of Five Hundred Sixty Four and No/1 00 Dollars
                                ($564) shall be made payable as consideration for Plaintiffs
                                General Release of Claims, as detailed in Paragraph 5 of this
                                Agreement.



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                               (C)      A total of Three Thousand Nine Hundred Thirty-Six and
                               No/1 00 Dollars ($3,936) shall be made payable to FONTES's legal
                               counsel, Remer & Georges-Pierre, PLLC, tax ID # 36-46223742,
                               for attorneys' fees and costs incurred in securing the General
                               Release of Claims ($2,000) detailed in Paragraph 5 of this
                               Agreement, as well as attorneys' fees and costs incurred in
                               litigating Plaintiff's FLSA claims ($1 ,936).

                      DEFENDANTS shall provide the consideration identified in this paragraph
                      3 within ten (1 0) days of Court approval of the settlement after receiving all
                      of the following items: (1) an original of this AGREEMENT signed and
                      dated by FONTES; (2) fully-executed tax forms for all individuals/entities
                      receiving checks; (3) full cooperation from FONTES and her counsel in
                      securing Court approval of this AGREEMENT, and (4) an Order from the
                      Court approving the parties' settlement and dismissing this Lawsuit with
                      Prejudice, which is a condition to this AGREEMENT.

                      In the event a payment is not timely received, FONTES will provide written
                      notice to DEFENDANTS' counsel via email at jabeckerman@littler.com
                      and DEFENDANTS will have five (5) calendar days to cure. If FONTES
                      has not received payment upon the expiration of this five (5) calendar day
                      period, FONTES shall immediately be entitled to a consent judgment
                      against DEFENDANTS, for all unpaid portions of the settlement funds for
                      which interest shall accrue on the unpaid portion at the rate of 4.75%
                      annually, as detailed in Florida Statute Section 55.03(1).

                       This AGREEMENT shall not become effective, therefore, and none of the
                       benefits set forth in this paragraph will become due or payable, until after
                       the Effective Date of this AGREEMENT (the "Effective Date" defined as
                       the first day after DEFENDANTS has received from FONTES all of the
                       items described in this paragraph). It is understood that the total payment
                       ever due FONTES as consideration for this AGREEMENT is the gross
                       sum of Seven Thousand Five Hundred and No/100 Dollars.

              4.       Consideration: FONTES understands and agrees that she would not
                       receive the monies and/or benefits specified in paragraph 3, above, but for
                       her execution of this AGREEMENT and the fulfillment of the promises
                       contained herein.

              5.       General Release of Claims: In exchange for, and in consideration of, the
                       payments, benefits, and other commitments described above, FONTES,
                       for herself and for each of her heirs, executors, administrators, and
                       assigns, hereby fully releases, acquits, and forever discharges
                       DEFENDANTS and each of their predecessors, successors and assigns,
                       parent corporations, subsidiary corporations, affiliated corporations, and
                       the officers, directors, shareholders, partners, employees, attorneys and
                       agents, past and present, of each of the aforesaid entities ("Related


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                     Persons"), as well as their heirs, executors, and administrators, of and
                     from any and all claims, liabilities, causes of action, damages, costs,
                     attorneys' fees, expenses, and compensation whatsoever, of whatever
                     kind or nature, in law, equity or otherwise, whether known or unknown,
                     vested or contingent, suspected or unsuspected, that FONTES may now
                     have, has ever had, or hereafter may have relating directly or indirectly to
                     the allegations in the Charge, including, but not limited to, claims for
                     wages, which, as set forth in "WHEREAS" clause "C" preceding paragraph
                     1 of this AGREEMENT, as well as paragraph 7 of this AGREEMENT,
                     have been fully paid to FONTES prior to the execution of this
                     AGREEMENT, or are fully paid by way of paragraph 3 of this
                     AGREEMENT; back pay; front pay; reinstatement; damages; or benefits.
                     FONTES also releases any and all claims she may have that arose prior
                     to the date of this AGREEMENT, and hereby specifically waives and
                      releases all claims, including, but not limited to, those arising under Title
                     VII of the Civil Rights Act of 1964, as amended, the Civil Rights Act of
                      1991; the Equal Pay Act; the Americans With Disabilities Act of 1990; the
                     Rehabilitation Act of 1973, as amended; the Age Discrimination in
                      Employment Act, as amended; the Genetic Information Nondiscrimination
                     Act; Sections 1981 through 1988 of Title 42 of the United States Code, as
                      amended; the Immigration Reform and Control Act, as amended; the
                      Workers Adjustment and Retraining Notification Act, as amended; the
                      Occupational Safety and Health Act, as amended; the Sarbanes-Oxley Act
                      of 2002; the Consolidated Omnibus Budget Reconciliation Act (COBRA);
                      the Employee Retirement Income Security Act of 1974, as amended; the
                      National Labor Relations Act; and any and all state or local statutes,
                      ordinances, or regulations, as well as all claims arising under federal,
                      state, or local law involving any tort, employment contract (express or
                      implied), public policy, wrongful discharge, or any other claim. FONTES
                      further represents and affirms that she has not made any request for leave
                      pursuant to the Family and Medical Leave Act which was not granted, nor
                      has DEFENDANTS interfered in any way with her efforts to take leave
                      pursuant to the Family and Medical Leave Act.

                      This AGREEMENT shall not apply to rights or claims that may arise after
                      the Effective Date of this AGREEMENT. Nothing in this paragraph or this
                      AGREEMENT is intended to limit or restrict any rights FONTES may have
                      that cannot, by express and unequivocal terms of law, be limited, waived,
                      or extinguished, including the filing of a charge with the Equal Employment
                      Opportunity Commission ("Commission") or National Labor Relations
                      Board ("NLRB"), or any other federal, state, or local agency, or from
                      participating in any investigation or proceeding conducted by such
                      administrative agencies. However, FONTES understands and agrees that
                      she is releasing DEFENDANTS from any and all claims by which she is
                      giving up the opportunity to recover any compensation, damages, or any
                      other form of relief in any proceeding brought by FONTES or on
                      FONTES's behalf. Accordingly, FONTES is waiving any claim that she


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                      may have to receive monetary damages in connection with any
                      Commission, NLRB or other agency proceeding concerning the matters
                      covered by this AGREEMENT.

             6.       Tax Liability: FONTES understands that DEFENDANTS shall issue an
                      IRS Form 1099 for those portions of the payment specified in paragraph 3
                      of this AGREEMENT that are not subject to withholding. In paying the
                      amount specified in paragraph 3, DEFENDANTS make no representation
                      regarding the tax consequences or liability arising from said payment.
                      FONTES understands and agrees that any and all tax liability that may be
                      due or become due because of the payment referenced above is her sole
                      responsibility, and that she will pay any such taxes that may be due or
                      become due. DEFENDANTS have no monetary liability or obligation
                      regarding payment whatsoever (other than delivering valid checks in the
                      sum referenced in paragraph 3 of this AGREEMENT to FONTES).
                      FONTES agrees to bear all tax consequences, if any, attendant upon the
                      payment to her of the above-recited sums. FONTES further agrees to
                      hold DEFENDANTS harmless from and against any tax or tax
                      withholdings claims, amounts, interest, penalties, fines or assessments
                      brought or sought by any taxing authority or governmental agency with
                       regard to the above recited sums. In the event DEFENDANTS receive
                      written notice that any claim or assessments for taxes, withholding
                       obligations, penalties and/or interest arising out of this settlement are
                       being or will be made against DEFENDANTS, DEFENDANTS shall
                       promptly, after receipt of such written notice, notify FONTES by letter sent
                       to FONTES.

              7.       Affirmations: FONTES represents and affirms that she has been paid
                       and/or received all leave (paid or unpaid), compensation, wages, bonuses,
                       commissions, and/or benefits to which she may be entitled and that no
                       other leave (paid or unpaid), compensation, wages, bonuses,
                       commissions, and/or benefits are due her, except as provided for in this
                       AGREEMENT.

              8.       No Further Employment: FONTES acknowledges that her employment
                       with DEFENDANTS terminated effective February 1, 2015. FONTES
                       permanently, unequivocally, and unconditionally waives any and all rights
                       FONTES may now have, may have had in the past, or may have in the
                       future to obtain or resume employment with DEFENDANTS. FONTES
                       agrees never to apply for employment with DEFENDANTS, their parents,
                       successors, affiliates, and subsidiaries. In the event that FONTES is ever
                       mistakenly employed by DEFENDANTS, their parent, successors,
                       affiliates, and/or subsidiaries, FONTES agrees to have her employment
                       terminated with no resulting claim or cause of action against
                       DEFENDANTS, their parent, successors, affiliates, and/or subsidiaries.




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             9.      No Assignment: The Parties represent and warrant that no person other
                     than the signatories hereto had or has any interest in the matters referred
                     to in this AGREEMENT, that the Parties have the sole right and exclusive
                     authority to execute this AGREEMENT, and that the Parties have not sold,
                     assigned, transferred, conveyed, or otherwise disposed of any claim,
                     demand or legal right that is the subject of this AGREEMENT.

             10.     Confidentiality: In consideration for the obligations undertaken in this
                     AGREEMENT, FONTES agrees that this AGREEMENT and the terms
                     and conditions hereof, are strictly, and shall forever remain, confidential,
                     and that neither FONTES nor her heirs, agents, executors, administrators,
                     attorneys, legal representatives or assigns shall disclose or disseminate,
                     directly or indirectly, any information concerning any such terms to any
                     third person{s), including, but not limited to, representatives of the media
                     or other present or former associates of DEFENDANTS, under any
                     circumstances, except FONTES may disclose the terms of this
                     AGREEMENT to her attorney, accountant, tax advisor, the Internal
                     Revenue Service, or as otherwise required by law {"Third Parties"),
                     provided, however, that the Third Parties to whom such disclosure is
                     made shall agree in advance to be bound by the terms of this paragraph
                     10 and all of its subparts.

                      (A)      If FONTES is required to disclose this AGREEMENT, its terms or
                               underlying facts pursuant to court order and/or subpoena, FONTES
                               shall notify DEFENDANTS, in writing via facsimile or overnight mail,
                               within 24 hours of her receipt of such court order or subpoena, and
                               simultaneously provide DEFENDANTS with a copy of such court
                               order or subpoena. The notice shall comply with the notice
                               requirements set forth below in paragraph 21. FONTES agrees to
                               waive any objection to DEFENDANTS's request that the document
                               production or testimony be done in camera and under seal.

                      (B)      FONTES acknowledges that a violation of paragraph 10 or any of
                               its subparts would cause immeasurable and irreparable damage to
                               DEFENDANTS in an amount incapable of precise determination.
                               Accordingly, FONTES agrees that DEFENDANTS shall be entitled
                               to injunctive relief in any court of competent jurisdiction for any
                               actual or threatened violation of paragraph 10 and all of its
                               subparts, in addition to any other available remedies.

                      (C)      The Parties agree that the terms of paragraph 10 above and all of
                               its subparts are a material inducement for the execution of this
                               AGREEMENT. Any disclosure or dissemination, other than as
                               described above in paragraph 10 and 1O(A) will be regarded as a
                               breach of this AGREEMENT and a cause of action shall
                               immediately accrue for damages and injunctive relief. The Parties
                               agree that damages sustained by such breach would be impractical


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                                or extremely difficult to determine and, therefore, agree that in the
                                event that FONTES, or any of the individuals identified in paragraph
                                1O(A), violates this paragraph 10 or any of its subparts, FONTES
                                shall pay DEFENDANTS liquidated damages in the sum of Five
                                Hundred and No/100 Dollars ($500) for each violation. The Parties
                                further agree that such damages are not intended to be, and shall
                                not be construed as, a penalty.

              11.      Non-Disparagement:        FONTES agrees that she will not provide
                       information, issue statements, or take any action, directly or indirectly, that
                       would cause DEFENDANTS embarrassment or humiliation or otherwise
                       cause or contribute to DEFENDANTS being held in disrepute. Defendants
                       Philip Esformes, Norman Ginsparg, and Sheldon Neidich shall not, directly
                       or indirectly through a third party, disparage or denigrate Plaintiff.
                       Defendants Philip Esformes, Norman Ginsparg, and Sheldon Neidich will
                       not make any statement or take any action that is intended to disparage or
                       denigrate Plaintiff. Further, Defendants Adirhu Associates, LLC and
                       Kabrihu Associates, LLC agree to provide a neutral employment reference
                       to any third party who may subsequently inquire about FONTES's
                       employment history with KABIRHU provided that FONTES list Andrew
                       Bronfeld as the reference contact. Such employment reference shall only
                       disclose FONTES's dates of employment, position(s) held, and final rate
                       of pay.

              12.      Governing Law and Jurisdiction:            The parties acknowledge that
                       approval of this AGREEMENT by the Court is a prerequisite to its validity.
                       The parties agree that the AGREEMENT shall not become effective or
                       enforceable until the Court approves the AGREEMENT and enters the
                       Final Judgment of Dismissal. This AGREEMENT shall be interpreted,
                       governed and conformed in accordance with the laws of the state of
                       Florida without regard to its conflict of laws provision. This Agreement
                       shall be subject to the exclusive jurisdiction of the United states District
                       Court, Southern District of Florida, which shall retain jurisdiction to enforce
                       this Agreement. In the event FONTES or DEFENDANTS breaches any
                       provision of this AGREEMENT, FONTES and DEFENDANTS affirm that
                       either may institute an action to specifically enforce any term or terms of
                       this AGREEMENT.

              13.      Conditions: Should any party to this Agreement be required to enforce
                       the terms of this Agreement against a breaching party, upon a proven
                       breach, the prevailing party shall be entitled to its reasonable attorney fees
                       and costs.

               14.      No Admission of Liabilitv:  The parties agree that neither this
                        AGREEMENT nor the furnishing of the consideration for this
                        AGREEMENT shall be deemed or construed at any time for any purpose



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                      as an admission by DEFENDANTS of any liability or unlawful conduct of
                      any kind.

              15.     Headings: The headings of the provisions herein are intended for
                      convenient reference only, and the same shall not be, nor be deemed to
                      be, interpretative of the contents of such provision.

              16.     Modification of Agreement: This AGREEMENT may not be amended,
                      revoked, changed, or modified in any way, except in writing executed by
                      all Parties. FONTES agrees not to make any claim at any time or place
                      that this AGREEMENT has been verbally modified in any respect
                      whatsoever. No waiver of any provision of this AGREEMENT will be valid
                      unless it is in writing and signed by the party against whom such waiver is
                      charged. The parties acknowledge that only an authorized representative
                      of DEFENDANTS has the authority to modify this AGREEMENT on behalf
                      of DEFENDANTS.

              17.      Interpretation: The language of all parts of this AGREEMENT shall in all
                       cases be construed as a whole, according to its fair meaning, and not
                       strictly for or against any of the Parties. This AGREEMENT has been
                       negotiated by and between the Parties and shall not be construed against
                       the "drafter'' of the AGREEMENT.

              18.      Severability: The Parties explicitly acknowledge and agree that the
                       provisions of this AGREEMENT are both reasonable and enforceable.
                       However, if any portion or provision of this AGREEMENT (including,
                       without implication of limitation, any portion or provision of any section of
                       this AGREEMENT) is determined to be illegal, invalid, or unenforceable by
                       any court of competent jurisdiction and cannot be modified to be legal,
                       valid, or enforceable, the remainder of this AGREEMENT shall not be
                       affected by such determination and shall be valid and enforceable to the
                       fullest extent permitted by law, and said illegal, invalid, or unenforceable
                       portion or provision shall be deemed not to be a part of this AGREEMENT.
                       To the extent any provision herein that relates to the General Release of
                       Claims described in paragraph 5 above is deemed to be illegal, invalid, or
                       unenforceable, DEFENDANTS are not obligated to honor any of the terms
                       set forth herein and FONTES shall return any amounts paid by
                       DEFENDANTS as set forth in paragraph 3(a) and (b).

              19.      Binding Nature of Agreement: This AGREEMENT shall be binding
                       upon each of the Parties and upon their respective heirs, administrators,
                       representatives, executors, successors, and assigns, and shall inure to
                       the benefit of each party and to their respective heirs, administrators,
                       representatives, executors, successors, and assigns.

              20.      Entire Agreement:   This AGREEMENT sets forth the entire
                       AGREEMENT between the parties hereto, and fully supersedes any prior


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                      obligation of DEFENDANTS to FONTES. FONTES acknowledges that
                      she has not relied on any representations, promises, or agreements of any
                      kind made to her in connection with her decision to accept this
                      AGREEMENT, except for those set forth in this AGREEMENT.

              21.     Notice Requirements: Each notice ("Notice") provided for under this
                      AGREEMENT, must comply with the requirements as set forth in this
                      paragraph. Each Notice shall be in writing and sent by facsimile or
                      depositing it with a nationally recognized overnight courier service that
                      obtains receipts (such as Federal Express or UPS Next Day Air),
                      addressed to the appropriate party (and marked to a particular individual's
                      attention, if so indicated) as hereinafter provided. Each Notice shall be
                      effective upon being so telecopied or deposited, but the time period in
                      which a response to any notice must be given or any action taken with
                      respect thereto shall commence to run from the date of receipt of the
                      Notice by the addressee thereof, as evidenced by the return receipt.
                      Rejection or other refusal by the addressee to accept or the inability to
                      deliver because of a changed address of which no Notice was given shall
                      be deemed to be the receipt of the Notice sent. Any party shall have the
                      right from time to time to change the address or individual's attention to
                      which notices to it shall be sent by giving to the other party at least ten
                      (1 0) days prior Notice thereof. The Parties' addresses for providing
                      Notices hereunder shall be as follows:

                                                DEFENDANTS
                             (Kabirhu Associates, LLC; Adirhu Associates, LLC;
                            Philip Esformes; Norman Ginsparg; Sheldon Neidich)
                                        c/o Jonathan Beckerman, Esq.
                                         LITILER MENDELSON, P.C.
                                              333 SE 2nd Avenue
                                                   Suite 2700
                                                Miami, FL 33131
                                               Ph: 305.400.7500
                                              Fax: 305.603.2552

                                                 JULIENNE FONTES
                                         c/o Anthony M. Georges-Pierre, Esq.
                                         REMER & GEORGES-PIERRE, PLLC
                                                  Courthouse Tower
                                            44 West Flagler St., Suite 2200
                                                   Miami, FL 33130
                                                  Ph: 305.416.5000
                                                  Fax: 305.416.5005

              22.      Selective Enforcement: The Parties agree that the failure of any party to
                       enforce or exercise any right, condition, term, or provision of this



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                       AGREEMENT shall not be construed as or deemed a relinquishment or
                       waiver thereof, and the same shall continue in full force and effect.

               Counterparts: This AGREEMENT may be signed in counterparts, fax copies to
       be considered original.

       HAVING ELECTED TO EXECUTE THIS AGREEMENT, TO FULFILL THE PROMISES
       AND TO RECEIVE THE SUMS AND BENEFITS IN PARAGRAPH 3 ABOVE, FONTES
       FREELY AND KNOWINGLY, AND AFTER DUE CONSIDERATION, ENTERS JNTO
       THrS AGREEMENT INTENDING TO WAIVE, SETTLE, AND RELEASE ALL CLAIMS
       SHE HAS OR MIGHT HAVE AGAINST DEFENDANTS.
       ACCEPTED AND AGREED


                                                                     2-lt...t l1\..o
                                                                   Date


       By.~  Norman Ginsparg on behalf                              Date   '

                                                                      z/-r!!_

       By:~
       By:   Ph~
             Sheldon Neidch~,                                       Date
                                                                               I




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